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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

  MARK ANDREWS,

           Plaintiff,

          v.                                            Case No. 1:22-cv-04295-SDG

  DINESH D’SOUZA, TRUE THE
  VOTE, INC., CATHERINE
  ENGELBRECHT, GREGG PHILLIPS,
  D’SOUZA MEDIA LLC, SALEM
  MEDIA GROUP, INC., REGNERY
  PUBLISHING, INC., AND JOHN
  DOES,
         Defendants.


          BRIEF IN SUPPORT OF DEFENDANTS TRUE THE VOTE’S,
           CATHERINE ENGLEBRECHT’S AND GREGG PHILLLIPS’
                         MOTION TO DISMISS

  Defendants True the Vote, Inc., Catherine Engelbrecht, and Gregg Phillips (collectively

“TTV Defendants”) file this Brief in Support of their Motion to Dismiss Plaintiff’s First

Amended Complaint (Doc. 27) (the “FAC”) (Plaintiff being Mark Andrews) on the grounds

that the First Amended Complaint fails to state a claim upon which relief can be granted.

   I. Introduction.

       Plaintiff asks this Court to do something no court has ever done: to punish

speech, about news and reporting of significant public interest, that through attenuated

and circuitous means is alleged to have contributed to third parties’ intimidating a

plaintiff. For the Court to create such a precedent on this issue of first impression would
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create a chilling effect on speech, like installing a defective pacemaker in the heart of

our republic.

      At its core, Plaintiff’s FAC is a complaint of defamation, of speech. Plaintiff

does not allege that the TTV Defendants interfered with his voting rights by threatening

him with or doing him harm, or threatening his employment, or evicting him from their

land. Indeed, as we shall see, Plaintiff does not allege the TTV Defendants even knew

of his identity, spoke to him as an individual, or rendered him identifiable to others.

Historically actionable intimidation comes in the more clearly identifiable form of

defendants committing or threatening violence directly against a known plaintiff 1 ,

economically coercing a known plaintiff2, or communicating the prospect of adverse

1
  In United States v. Wood, 295 F.2d 772 (5th Cir. 1961), the plaintiff prevailed where
a courthouse official beat a black SNCC volunteer in front of black residents trying to
register to vote. In United States v. Original Knights of the K.K.K., 250 F. Supp. 330
(E.D. La. 1965), the court granted an injunction against defendants who directed
violence, threats, harassment, and economic coercion against black citizens for the
purpose of deterring their registering to vote. In Paynes v. Lee, 377 F.2d 61 (5th Cir.
1967), the Court of Appeals held the district court erred in dismissing a claim that white
defendants threatened a black man who tried to register. See also United States v.
Clark, 249 F. Supp. 720 (S.D. Ala. 1965) (granting injunction against local officials
who engaged in “baseless arrests” and “unjustified prosecutions” against black citizens
seeking to vote and volunteers); United States by Katzenbach v. Original Knights of
the K.K.K., 250 F. Supp. 330 (E.D. La. 1965) (granting injunction against defendants
who directed violence, threats, harassment, and economic coercion against black
citizens for the purpose of deterring their registering to vote).

2
 In United States v. Beaty, 288 F.2d 653 (6th Cir. 1961), white landowners’ direct-to-
plaintiff economic coercion of evictions and boycotts of black tenant farmers merited
an injunction where the purpose was to interfere with their voting rights. In United
States v. Deal, 6 Race Rel. L. Rep. 474 (W.D. La. 1961), the court granted a restraining
order against business owners who refused to gin cotton, sell goods or services, or

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legal consequences for a known plaintiff. 3 Plaintiff does not even allege the TTV

Defendants engaged in another activity subject to anti-intimidation litigation in recent

years, that of observing him (or following, photographing, or taking down his license

plate number)4

      Plaintiff here makes an altogether different claim, one of first impression among

the voting statutes’ anti-intimidation cases. Even among the few anti-intimidation cases



engage in ordinary business transactions with black farmers who attempted to register
to vote. In United States v. Bruce, 353 F.2d 474 (5th Cir. 1965), the government stated
a valid claim where white landowners had ordered a black defendant, an insurance
collector active in encouraging voter registration, to stay off their property, for reasons
clearly having to do with his voter registration activity.
3
  In United States v. McLeod, 385 F.2d 734 (5th Cir. 1967), the plaintiff prevailed
because local officials conducted “baseless arrests and prosecutions” against both
black citizens seeking to register to vote and voter registration volunteers. In United
States v. Wood, 295 F.2d 772 (5th Cir. 1961), the plaintiff prevailed in part due to
defendants conducting baseless arrests and prosecution of a volunteer. In United States
v. Clark, 249 F. Supp. 720 (S.D. Ala. 1965), the court granted an injunction against
local officials who engaged in “baseless arrests” and “unjustified prosecutions” against
black citizens seeking to vote and volunteers. In Lovejoy-Wilson v. NOCO Motor Fuel,
Inc., 263 F.3d 208, 222-23 (2d Cir. 2001), the Second Circuit concluded that an
employer's statement to his employee that if the employee continued requesting
accommodations for her disability, he would address her behavior “through legal
channels” could constitute an unlawful threat or intimidation in violation of the
Americans with Disabilities Act.
4
   See, e.g., Democratic Nat’l Comm. v. Republican Nat’l Comm. (D.N.J. 1982) (Civ.
No. 81-3786) (ordering consent decree favorable to DNC following (1) RNC’s
compilation of inaccurate voter caging list and announcement through news media that
it would be used to challenge voters; and (2) RNC’s deployment of individuals dressed
as police officers to polls); Daschle v. Thune, CIV 04-4177 (D.S.D. Nov. 2, 2004)
(granting temporary restraining order prohibiting individuals acting on behalf of
defendant candidate from following Native American voters to the polls or copying
the license plate numbers of Native American voters driving to or from the polls).
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that have survived summary proceedings in the voting context to date, none has

featured such an attenuated relationship between defendants’ protected speech and a

plaintiff’s alleged intimidation. In this case, Plaintiff alleges as follows:

      • A Charged Political Context. The TTV Defendants were engaged in public
        speech on matters of civic interest, as they have been for more than a decade.
      • Impersonal and Incidental Speech About a Video Image that Turned Out
        to be of Plaintiff.
            • There is no allegation the TTV Defendants were speaking to or
              directing speech at Plaintiff; rather, they are alleged to have simply
              narrated a documentary film concerning a matter of intense public
              concern and civic interest (as edited by others).
            • The TTV Defendants said things not to Plaintiff but about activities in
              a video by unidentified and unidentifiable persons not known to them,
              of whom Plaintiff was but one.
            • There is no allegation Defendants knew Mark Andrews’ identity, and
              they did not speak about – and could not have conspired to violate the
              rights of – anyone they knew to be Mark Andrews.
      • No Intimidating Speech. The TTV Defendants are not alleged to have made
        statements Plaintiff could reasonably regard as serious threats or efforts to
        intimidate Plaintiff.
      • Third Parties Identified Plaintiff. Following the TTV Defendants’ core
        public speech about matters of civic interest and scrutiny.
      • Third Parties Intimidated Plaintiff. Following the TTV Defendants’ core
        public speech about matters of civic interest and scrutiny, third parties not
        before the Court made the only statements plausibly alleged to have
        intimidated or threatened Plaintiff.

      Claiming the TTV Defendants’ allegedly defamatory speech is somehow

connected to Plaintiff’s voting or not voting, Plaintiff improperly asks the Court to

carve out an exception to the TTV Defendants’ First Amendment protections under two

anti-intimidation statutes related to voting. It is a creative argument, but one ultimately

far too attenuated for this Court to create a precedent that would chill the speech of

combatants in the public square who must fear what third parties will do with (1) their
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core protected speech, that is (2) not specially targeting a known or identifiable person

but is instead (3) made pursuant to legitimate, lawful activities.

   II. The TTV Defendants’ Protected Speech Incidentally Touching Upon an
       Unidentifiable Plaintiff is Subject to Strong First Amendment Protections.

       Beginning with the very first paragraph of his FAC, Plaintiff makes clear that

the context of the TTV Defendants’ speech, alluding at times to his unidentified video

image, is high-octane advocacy on a matter of intense public interest. Immediately,

Plaintiff invokes the charged context of the disputed 2020 election, claims of voter

fraud, and the January 6 attack on the Capitol, see FAC ¶1, and already we are deep in

the territory of core protected speech. The FAC establishes the purely broad and

notably impersonal, context of Defendants’ speech as it came ever so briefly to touch

– through editing and publication largely by others – on video images of an unidentified

Plaintiff. Plaintiff states that:

       • The TTV Defendants have concerned themselves with election integrity
         since at least 2012, when “a TTV leader declared at a national summit
         preparing for the 2012 presidential election: ‘I’m not being over the top here:
         I fear the Obama gang is setting themselves up to steal the elections, if
         possible,’” id. ¶194, and when Defendant Engelbrecht appeared on the news
         program “Nightline” to discuss the same issues, id. 195.
       • Τhe TTV Defendants, through their speech, are “architects and amplifiers”
         of a particular political narrative about the 2020 election. Id. ¶3.
       • The TTV Defendants, through their speech, have raised questions about
         ballot-trafficking. Id.
       • The TTV Defendants, in their speech, were promoting a narrative around the
         same issues via the “2000 Mules” film. Id. ¶4.




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      • The “Defendants” published 5 “an accompanying book”, also titled 2000
        Mules. Id.
      • Defendants made dramatized statements in the film, such as Defendant
        D’Souza’s saying, “What you are seeing is a crime. These are fraudulent
        votes.” Id. ¶7.
      • There was “a law enforcement investigation” based on the Defendants’
        speech about matters of public concern. Id. ¶8.
      • A former president has involved himself in the same political narrative. Id.
        ¶12.

      Plaintiff also makes clear the overtly controversial context of the TTV

Defendants’ speech as a routine part of a clean-elections mission decidedly not focused

on Plaintiff: “Defendant True the Vote, LLC [sic]. . . is a 501(c)(3) nonprofit

organization” that “purports to engage individuals to monitor voters to ensure election

integrity.” Id. ¶19 (internal quotations omitted). And Plaintiff makes clear that

Defendant Engelbrecht “has made many media appearances promoting 2000 Mules

and the ‘mules’ theory.” Id. ¶21. The FAC itself tells us Defendant Phillips “has served

on TTV’s board of directors” and concedes that Defendant Phillips has been engaged

in “develop[ing] the research and methodology used to identify the so-called ‘mules’”

and that he “has made many media appearances promoting 2000 Mules” and discussing

“claims of mass ballot fraud.” Id. ¶22 (internal quotations omitted). The rest of the

FAC proceeds similarly, detailing what are irrefutably arguments made by the TTV

Defendants, in the public square and as part of a decade-old organizational mission,



5
  This is one of many examples of Plaintiff’s problematic group pleading. Just as the
TTV Defendants had no role in editing the “2000 Mules” film (that is not what
“executive producers” do), the publicly available video clip of Plaintiff, or the
promotional videos, they had no role in publishing the book 2000 Mules.
                                           6
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about matters of obviously significant public interest.

      A. The TTV Defendants Made Statements About “Mules” in “2000 Mules.”

      Plaintiff claims all the Defendants here accused him (specifically, his

unidentified image on publicly available surveillance footage) and other “mules” of

involvement in criminal activity, id. ¶¶7, 39, and, drawing from publicly available

video surveillance footage used in the film “2000 Mules” and its trailer, that they

showed images of an unidentifiable Plaintiff “as an exemplar ‘mule.’” Id. ¶¶10, 38, 41.

However, none of the individuals in the Defendants’ publications is named, identified,

or readily recognizable. Plaintiff’s own pleadings make clear that Defendants Salem

Media and Regnery took steps to de-identify all individuals included in the film and to

avoid depicting them in any identifiable way, including by blurring their images in

publications made by Defendants. ¶¶ 38- 39, 74, 150.

      B. Defendants Discussed Mules Generally While Footage of a Blurred
         Unidentifiable Plaintiff was Edited by Others to Appear Alongside.

      Plaintiff next engages in improper group pleading to say “Defendants” “included

the footage of Mr. Andrews voting in their ‘official’ trailer for 2000 Mules.” Id. ¶45.

(Plaintiff does not specifically and plausibly allege the TTV Defendants had any role

in creating or editing the trailer). “In the trailer,” the FAC says, “D’Souza asks, ‘do you

have video evidence?’ of the alleged mules engaged in criminal conduct. Phillips

replies: ‘four million minutes of surveillance video,’ as Mr. Andrews’ image (with his

face blurred) is shown.” Id. Plaintiff then again improperly pleads that all “Defendants


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included in the trailer the following dialogue from the film discussing the purported

mules (including Mr. Andrews)”, and Plaintiff then provides that dialogue, paired with

the video content, including statements that the activity is not legal (Engelbrecht) and

is organized crime (Phillips). Id. ¶46. Plaintiff alleges that “the Defendants” shared the

(blurred) film trailer in media channels. Id. ¶¶ 47-48, 53, 63-64, 69, 151-155.

      C. Several TV Shows Featured Footage of a COVID-masked and
         Unrecognizable Plaintiff as the TTV Defendants Discussed “Mules” in
         General.

      Plaintiff claims, in error, that the TTV Defendants themselves somehow “twice

showed an excerpt of Mr. Andrews voting without any blurring of his face on The

Charlie Kirk Show, which Defendant Salem Media produces,” id. ¶49-52, though

Plaintiff rightly refrains from expressly alleging the TTV Defendants had any role in

providing the clip or deciding not to blur his (still unrecognizable) image. The Court

may take judicial notice that the clip that features Plaintiff shows him (1) at a

considerable distance, (2) masked and (3) possibly wearing dark sunglasses (the area

around his eyes is in any event pixelated and not discernable), so that even without

blurring, he is unrecognizable. 6 The same is true of Plaintiff’s image on Tucker

Carlson, where Plaintiff is one of about 72 unidentified people featured in the clip




6
  See https://rumble.com/v10ajh2-how-the-did-it-true-the-votes-catherine-
engelbrecht-and-gregg-phillips-on-t.html at 25:08-25:46 and 50:52-50:55.

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shown.7 Id., ¶56.

      Plaintiff alleges that on “Truth Matters [sic] with Roman Balmakov,” the TTV

Defendants implied criminal activity on the part of ballot-traffickers in general, and

that show producers showed video clips of alleged ballot-traffickers, again, in general,

id. ¶¶66-68 (stating Facts Matter with Roman Balmakov “showed the TTV clip8 of

Mr. Andrews voting (with his face blurred) as they explained the purported illegal

‘mules’ scheme”9), but it’s clear Plaintiff’s blurred and cropped image, which lasted

for under a second, is not only unidentifiable but that he is one of hundreds of voters

shown on the 51-minute episode’s voluminous B-roll. As an example, here is Plaintiff’s

unblurred and unrecognizable image from the Charlie Kirk show:




7
  See https://www.facebook.com/watch/?v=1381334499041217&ref=sharing at :31-
:55 (accessed January 11, 2023).
8
  Plaintiff inexplicably refers to the publicly available surveillance footage of him as
“the TTV clip”. But the Court may take judicial notice that the footage came from
CCTV surveillance footage provided by Gwinnett County. Plaintiff does not claim the
TTV Defendants had any role in editing any of the video referred to in the FAC. The
clip may no more be said to be “TTV’s” than any other entity’s.
9
   See https://www.truethevote.org/the-epoch-times-interview-about-who-is-funding-
the-ballot-mules/ at 38:17 (Plaintiff appears for a fraction of a second, image of head
cropped, masked face blurred).
                                           9
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      D. The Rest of the TTV Defendants’ Statements

      The TTV Defendants are alleged to have published a Facebook post featuring a

third-party's rap song about “mules” featuring two video clips of an unidentified

Plaintiff’s blurred image, for about one second in each 10. Id. ¶162. Defendants also

posted a video titled “This is not the end: We’re about to pull the ripcord,” 11 about

releasing their research, in which a flicker of Plaintiff’s blurred image is shown so

briefly as to be not just unrecognizable but easy to miss entirely. Id. ¶64. The TTV

Defendants are alleged as well to have posted on social media calls to “watch the

[ballot] boxes,” id. ¶225, which in no way refer to Plaintiff. None of these actions

could have plausibly intimidated a reasonable person, let alone one, like Plaintiff, never

alleged to have seen these statements in the first place.


10
  See https://www.facebook.com/watch/?v=3304988439758013 at :32
and 1:40 (accessed January 11, 2023).
11
   See https://www.facebook.com/watch/?v=335770281958423 at :16 (accessed
January 11, 2023).
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      Aside from their sharing social media posts about the same content, we have

now reached the extent of Plaintiff’s claims alleging intimidation on the part of the

TTV Defendants. The TTV Defendants were not by Plaintiff’s own admission involved

in third parties’ identification of Plaintiff in a public hearing or third parties’ social

media posts.

      E. The State of Georgia, Not the TTV Defendants, Identified Plaintiff.

      Notably, though Plaintiff alleges he is one of over a dozen people featured in “a

series of twelve clips of voters depositing absentee ballots in drop boxes,” id. ¶40, and

that Defendant Phillips claims he has “four million minutes of surveillance video,” id.

¶45, and though he is one of 72 people visible in the video used by Tucker Carlson,

Plaintiff does not allege that any other person in all that footage has ever been

identified. The sole difference between Plaintiff and the dozens of parties not alleging

intimidation here? The State of Georgia held a public proceeding about Plaintiff.

      The FAC itself tells us so. It states that after “a Georgia resident named David

A. Cross filed a complaint against Mr. Andrews with the Georgia Bureau of

Investigations (GBI) asserting the same false allegations of ballot fraud in 2000

Mules,” ¶84, an investigator used the complaint’s “screenshots of Mr. Andrews voting,

as well as Mr. Andrews’ vehicle and license plate number” 12 (¶85) “to locate and

12
   The Court may confirm that the clip of Plaintiff used on the TV shows cited by
Plaintiff used a resolution and video inlay size that makes it impossible to
read his license plate numbers even with video enhancement. Plaintiff’s plate number
can only be made out using higher resolution video at 4K from

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identify Andrews.” FAC at p.34 n.67. On May 17, 2022, the Georgia State Elections

Board (SEB) then held “a public meeting”, “open to the public and live streamed on

the internet,” in which they identified Mr. Andrews and “a GBI investigator publicly

and unequivocally refuted the allegations.” ¶91. The dismissal of the case “received

media coverage in local and national publications.” ¶95. In short, the TTV Defendants

played no part in the key link in Plaintiff’s chain of supposedly foreseeable causation.

       F. Third Parties Made Allegedly Intimidating and Threatening
         Statements to or About “Mules” – and a Still-Unnamed Plaintiff.

      For 155 paragraphs over 67 pages, Plaintiff’s FAC omits any mention of speech

or actions by the TTV Defendants that could plausibly be meant to allege intimidation

of or threats against Plaintiff. In Paragraph 156, however, Plaintiff begins his attempt

to suggest that the TTV Defendants are liable for what amounts to stochastic

intimidation, apparently because they knew or should have known third parties would

direct intimidating or threatening speech toward a Plaintiff the Defendants had never

identified or made identifiable:

      As a foreseeable and intended result of Defendants’ coordinated press tour to
      promote 2000 Mules, others have repeated their claims and publicized Mr.
      Andrews’ image in concert with these false allegations.

Id. ¶156 (emphasis added); see also ¶198 (similar). In a clear case of First Amendment




the original Gwinnett County source. An example of that higher resolution may be
found
here: https://www.awesomescreenshot.com/video/8567926?key=afc1054464e337f92
91b60ca5d7fd620.
                                          12
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overbreadth, Plaintiff is seeking to hold the TTV Defendants liable for any

“foreseeable” consequences of allegedly negligent speech. Accordingly, Plaintiff

compiles a list of what may be people (or third parties' bots), not before the Court, who

posted on social media various statements relating to alleged “mules”, and

occasionally used unidentifiable images of a Plaintiff they do not name. In many cases,

Plaintiff complains that still other people (or bots) made further attenuated comments

on the posts of the original third parties or bots:

      • “Arizona lawmakers” called on vigilantes to monitor and record voters. In
        response, vigilantes held ‘mules’-inspired ‘tailgate parties’ where they
        monitored, recorded, and questioned voters at drop boxes in Arizona, which
        led to confrontations during the primary and general elections, during which
        voters described being intimidated.” ¶199 (emphasis added; Plaintiff not
        featured).
      • “At a 2000 Mules screening at Mar-a-Lago, former President Trump called
        on attendees to ‘do something’ about the purported stealing of the 2020
        election.” TTV shared the statement on its website. Defendant D’Souza has
        posted similar calls to action . . .” Id. ¶200 (emphasis added; Plaintiff not
        featured).
      • “Numerous social media users have posted or shared threats on social
        media, including ones threatening to ‘arrest,’ assault, or kill ‘mules’ . . .” Id.
        ¶201 (emphasis added). “Many of these posts include Mr. Andrews’ image
        along with white supremacist references, and promote Defendants’ narrative
        that Mr. Andrews is a criminal and a treasonous “mule’.” Id. ¶202 (emphasis
        added; Plaintiff not identifiable).
      • “One social media user posted that he was ‘watching’ voters on election day,
        and that he voted wearing a Defendant Phillips shirt and an ‘Arrest the Mules’
        bracelet.” Id. ¶203 (emphasis added; Plaintiff not featured).
      • “a Twitter post stating, ‘Arrest the mules!’” Id. ¶205 (emphasis added;
        Plaintiff not featured).
      • “Some social media posts have actually placed images of the alleged ‘mules’
        on mock ‘WANTED’ posters.” Id. ¶206 (emphasis added; Plaintiff not
        featured).
      • “one website in particular created digital billboards with the word ‘busted’
        superimposed on a screenshot from the movie of Andrews submitting ballots
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          for himself and his family and suggests that Andrews was ‘hired to illegally
          dump ballots into ballot boxes.’” Id. ¶207 (emphasis added; Plaintiff not
          identifiable).
      •   “numerous social media posts repeating the ‘mules’ narrative have called for
          physical violence against those falsely depicted in Defendants’ film as
          ‘mules,’ some of which have used Mr. Andrews’ image.” Id. ¶208 (emphasis
          added; Plaintiff not identifiable).
      •   “one social media user posted TTV’s clip of Mr. Andrews voting alongside
          an explanation of the ‘mules’ theory. . . . Comments on these posts include
          threats to have the ‘mules’ ‘forcibly amputated from the country and sent
          somewhere else en masse,’ and proclamations that the ‘mules’ should be
          arrested, ‘face a firing squad,’ or receive ‘Bullets to Mules Heads.’” Others
          “have also assured ‘mules’ through social media comments that ‘we’re
          coming after you.’” Id. ¶209 (emphases added; Plaintiff not featured).
      •   “a user posted a video on the video-sharing platform Rumble that included
          the TTV clip of Mr. Andrews. The comments on the video suggest that
          Defendants’ followers want to track down the ‘mules’ who they believe
          should be hanged, ‘executed,’ ‘die,’ or face incarceration.” Id. ¶210
          (emphases added; Plaintiff not identifiable).
      •   Other people, assuming they are not bots, have made similar statements, or
          comments on statements. Id. ¶211 (allegedly with Plaintiff’s image, but still
          unidentifiable).
      •   “a Twitter user posted photos of flyers posted on the streets of Tucson,
          Arizona, that stated: ‘You cannot stop the revolution! We have just begun!
          We are watching you, Mules.’ Another sign that appeared to be from the same
          group included an image of a person behind jail bars and threatened: ‘Ballot
          drops get cell blocks. We are watching you.’” Id. ¶228 (emphasis added;
          Plaintiff not featured).

      The TTV Defendants strongly condemn the preceding threats of violence and

calls for unjustified and even extrajudicial arrests. But the FAC does not allege any of

these potentially intimidating or threatening statements – many of which do not even

feature Plaintiff or his identifiable characteristics at all – were made by the TTV

Defendants. Nor, critically, does Plaintiff allege that he even saw these statements – a

crucial omission even for Plaintiff’s desired negligence standard.


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      Perhaps because any of these statements, taken alone, would be difficult to

remedy under Plaintiff’s stated causes of action, Plaintiff has attempted to hang

responsibility for all these statements on all the Defendants, collectively, as if the sheer

accumulation of threats by third parties could make Defendants liable. It is no

coincidence that only after this deluge of statements by people (or bots) not before the

Court does Plaintiff make his extended case, over the course of 12 pages in Paragraphs

212-224 and 229-249, that he was intimidated about voting. (Though Plaintiff did vote

in 2022. See FAC ¶¶234, 236, 239.)

   III.       TTV Defendants’ Speech on Matters of Significant Public Interest,
              With Only Highly Attenuated Impact on Plaintiff, is Protected by the
              First Amendment.

      A motion to dismiss under Rule 12(b)(6) should be granted unless the

complaint contains “enough facts to state a claim for relief that is plausible on its face.”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The “[f]actual allegations must

be enough to raise a right to relief above the speculative level,” and “labels and

conclusions or a formulaic recitation of the elements of a cause of action will not do.”

Id. at 555; Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009).

      Plaintiff alleges the TTV Defendants’ speech may be proscribed because, in

addition to being defamatory, it “violates both Section 11(b) of the Voting Rights Act,

52 U.S.C. § 10307(b), and Section 2 of the Ku Klux Klan Act, 42 U.S.C. §1985(3),

because their actions threatened and intimidated Mr. Andrews for exercising his right

to vote and caused injury to him because he exercised his right to vote.” FAC, ¶ 15.
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But Plaintiff alleges the TTV Defendants threatened and intimidated him, as we have

said, in a most unusual manner, one that could again be described with precision only

as stochastic intimidation: it was third parties who identified Plaintiff, and it was yet

other third parties who made statements to or about him that Plaintiff alleges to have

been intimidating. Plaintiff’s effort to stretch the definitions of “intimidate” or

“threaten” to encompass the TTV Defendants certainly runs afoul of the First

Amendment. See Mills v. Alabama, 384 U.S. 214, 218-19 (1966) (“there is practically

universal agreement that a major purpose of [the First] Amendment was to protect the

free discussion of governmental affairs ... [including] discussions of candidates,

structures and forms of government, the manner in which government is operated or

should be operated, and all such matters relating to political processes”).

      A. VRA Section 11(b) Arguably Does Not Create a Private Cause of Action.

      Section 11(b) of the VRA does not, as it must, expressly authorize private

enforcement, much less relief. The overwhelming majority of Section 11(b) cases

have been filed by the Attorney General. In those far fewer cases brought by private

parties, the courts either did not address the question, or, as in Wohl and LULAC, failed

to apply the Supreme Court’s accepted standard for private rights of action outlined in

Alexander v. Sandoval, 532 U.S. 275, 286 (2001); see In re Wild, 994 F.3d 1244, 1255

(11th Cir. 2021) (deeming Sandoval “our lodestar”).

      A private right of action may not be implied. “[P]rivate rights of action to enforce

federal law must be created by Congress,” so “[t]he judicial task is to interpret the
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statute...to determine whether it displays an intent to create not just a private right but

also a private remedy.” Alexander, 532 U.S. at 286. Section 11(b) does not express

congressional intent to create a private right or a private remedy. Its language says

“[n]o person . . . shall”, which means it “is directed to the regulated party [the

“person”], not the party to be protected”. Thus, under Supreme Court precedent, it does

not “confer any new right on voters.” Schilling v. Washburne, 592 F. Supp. 3d 492, 498

(W.D. Va. 2022).

      “Statutes that focus on the person regulated rather than the individuals protected

create no implication of an intent to confer rights on a particular class of persons.”

Sandoval, 532 U.S. at 289 (emphasis added). “Nor do the methods that [it] goes on to

provide for enforcing its authorized regulations manifest an intent to create a private

remedy; if anything, they suggest the opposite.” Id. Indeed, “the statute expressly

delegates enforcement authority to the Attorney General,” to the exclusion of a private

remedy. Schilling, 592 F. Supp. 3d at 498; Love v. Delta Air Lines, 310 F.3d 1347, 1353

(11th Cir. 2002) (“If th[e] statutory structure provides a discernible enforcement

mechanism, Sandoval teaches that we ought not imply a private right of action.”).

      Controlling precedent “demand[s] clear evidence of congressional intent as a

prerequisite to a private right of action,” Wild, 994 F.3d at 1255, and the text of VRA

§ 11(b) forecloses any claim Congress intended to provide a private right of action.

Such clear evidence is lacking here.



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     B. Plaintiff Seeks to Chill Core Speech Concerning Civic Affairs Lacking
        Either Direct Threat or Intimidation.

      The government may not restrict speech on the basis of its content except in

well-recognized areas. United States v. Alvarez, 567 U.S. 709, 716 (2012). “Among

these categories; speech integral to criminal conduct; so-called ‘fighting words’; child

pornography; fraud; true threats; and speech presenting some grave and imminent

threat the government has the power to prevent ....” Id. at 717 (citations omitted). False

statements    are    not     categorically        excluded   from   First    Amendment

protection. See Alvarez, 567 U.S. at 718-22 (plurality); id. at 732-37 (Breyer, J.,

concurring). “Although false statements that discourage people from exercising the

right to vote could conceivably be exempted from First Amendment protection

altogether, the Supreme Court has not crafted such an exemption.” Nat'l Coal. on Black

Civic Participation v. Wohl, 498 F. Supp. 3d 457, 478 (S.D.N.Y. 2020).

      In Watts v. United States, 394 U.S. 705 (1969), which articulated the doctrine of

“true threats”, the Court found the statement “If they ever make me carry a rifle the

first man I want to get in my sights is L.B.J.” qualified as “political hyperbole”.

“Political hyperbole” is not a true threat, the Supreme Court held, even when “crude,”

“abusive, and inexact.” Id. 708.

      The facts here do not at all align with the direct intimidation and threats

contemplated in the anti-intimidation statutes and the caselaw. Both Section 11(b) and

the Support and Advocacy Clause of Section 1985(3) require a plaintiff to allege that


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a defendant did, or attempted to, intimidate or threaten the plaintiff “for voting or

attempting to vote” or “aiding” any person to do the same (11(b)) or that two or more

defendants did “conspire to prevent” the plaintiff “from giving his support” to a federal

political candidate by "intimidation, or threat” (1985(3)). While there are differences

between the statutes – 1985(c) requires greater scienter and a conspiracy – both

proscribe “intimidation” and “threats” designed to interfere with a plaintiff’s voting

rights.13

       In deciding what is covered by the terms “intimidate” and “threaten,” the Court

must begin with the plain meaning of the statutory language. The definitions in

Webster’s Third New International Dictionary, the dictionary most commonly cited by

the Supreme Court, are what one would expect. To “intimidate” means “to make timid

or fearful; inspire or affect with fear; frighten, especially to compel to action or inaction

(as by threats).” A “threat” is “an expression of an intention to inflict evil, injury, or

damage on another, usually as punishment for something done or left undone.” To

“threaten” also means to “utter threats against” or “promise punishment, reprisal, or

other distress.”

       Here, Plaintiff does not plausibly allege the TTV Defendants, by merely

narrating the activities of an unidentified and unidentifiable person on video clips,




13
    The FAC makes no pretense of claiming Plaintiff was “coerced for voting or
attempting to vote”, under Section 11(b). Indeed, there are no allegations using the
term “coerce.”
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thereby reasonably made him timid or fearful, inspired fear in him, or frightened him

to compel any particular action or inaction. Nor does Plaintiff plausibly allege the TTV

Defendants expressed an intention to “inflict evil, injury, or damage,” including “as

punishment.” Judge Jones of the Northern District of Georgia recently rejected a

similarly attenuated challenge under the Voting Rights Act. Referring to the social

media postings by third parties in Fair Fight et al. v. True the Vote et al, he noted that

those postings did not show that “Defendants have intimidated or threatened voters in

violation of Section 11(b).” Fair Fight et al. v. True the Vote et al., 2:20-CV-00302-

SCJ, Order of Jan. 1, 2021, at 27 (emphasis in original). Judge Jones explained that

“without clearer connections borne out by evidence,” “[h]ow third-party actors react

to Defendants’ actions is not directly attributable to Defendants.” Id.

      The closest case to Plaintiff’s may be League of United Latin American Citizens

(LULAC) v. Public Interest Legal Foundation (PILF), No. 18-cv-00423, 2018 WL

3848404 (E.D. Va. Aug. 13, 2018). In LULAC, the defendants themselves published

reports they titled “Alien Invasion”, which claimed that registered Virginia voters were

committing voting-related felonies. In the 2017 report, the defendants themselves made

public the names, home addresses, and telephone numbers of the plaintiffs and other

private individuals. That is, unlike in the instant case, LULAC involved Defendants

who themselves doxed identifiable parties, and then directly threatened them too.

Similarly, in United States v. Nguyen, 673 F.3d 1259, 1265 (9th Cir. 2012), where the

Ninth Circuit concluded there was “sufficient” basis for a jury to conclude that a mass
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mailing constituted unlawful “intimidation” under California law, the defendants had

directed their speech in a targeted way at the plaintiffs, and directly threatened harmful

things would happen to them.

     C. No Reasonable Person Would Perceive the TTV Defendants as Making a
        Real Threat.

      Importantly, Plaintiff does not allege that Defendants made threats against

Plaintiff. And as noted above, Plaintiff does not even allege that he saw the third-

parties' social media posts. If he had alleged the former, that might make relevant a

discussion about whether the “true threats” exception to the First Amendment applies

in this instance, allowing us to go further. But Plaintiff’s claim is considerably more

circuitous: Plaintiff alleges that the TTV Defendants first said defamatory things about

an image of him that was not reasonably identifiable, without speaking to him or

identifying him, and that other actors not before the Court subsequently identified

Plaintiff by using the license plate number visible in county-provided surveillance

video, and still others made threats against him. Yet nowhere does Plaintiff plead the

existence of a clear causal connection between any particular defendant’s statement

and those third-party threats. Plaintiff has not made a plausible allegation of threat or

intimidation capable of surviving a motion to dismiss. Accepting Plaintiff’s

interpretation here, per the Supreme Court, “would create an unacceptable risk of the

suppression of ideas.” Black, 538 U.S. at 365 (internal citation omitted). The Supreme

Court expressed particular concern in situations where, as here, an interpretation of


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“intimidation” may be “relatively weak,” while there may be other, permissible

purposes – such as the ideological – to the defendants’ speech. Id. at 366. We address

the anti-intimidation caselaw’s exemption of speech (or even actions) made pursuant

to legitimate activities next.

      D. Because Defendants’ Speech Was a Legitimate Part of a Core Civic
      Purpose Not Focused on Plaintiff, Plaintiff’s VRA and KKK Claims Must
      Be Dismissed.

      Even if Plaintiff’s claims were not unconstitutionally overbroad, seeking such

chilling liability for such attenuated impact, they would fail because Plaintiff himself

makes clear the TTV Defendants had a legitimate rationale for their lawful activity.

That is, because any alleged intimidation was clearly incidental to the TTV Defendants’

legitimate activities, and not directed toward the Plaintiff’s voting rights, Plaintiff’s

efforts to muzzle Defendants are proscribed by the First Amendment.

      Where, as here, it is evident even from the pleadings on their face that defendants

did what they allegedly did for reasons other than to intimidate a plaintiff, and where

there is, as here, no other evidence of an effort to intimidate the plaintiff, courts have

denied relief under Section 11(b), as they do in treating textually similar Section 131(b)

intimidation claims. For example, in United States v. Bd. of Educ. of Greene Cnty.,

Miss., 332 F.2d 40 (5th Cir. 1964), addressing § 131(b), the Fifth Circuit found no

abuse of discretion in denying a preliminary injunction where the defendant school

district had refused to rehire a Black teacher due to her uncooperative behavior and

involvement in unrelated litigation, rather than to interfere with her right to vote. In
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United States v. Harvey, 250 F. Supp. 219 (E.D. La. 1966), the district court denied an

injunction under both § 131(b) and § 11(b) against white landowners who had evicted

Black tenant farmers, because there was no evidence the evictions were for the purpose

of voter intimidation, while the landowners did have legitimate reasons for evicting the

tenants.

      In United States v. Leflore Cnty., 371 F.2d 368 (5th Cir. 1967), the Fifth Circuit

affirmed summary judgment dismissing a § 131(b) claim on grounds that, in

prosecuting a group of black citizens for disturbing the peace, the county had been

justifiably enforcing its criminal law, not seeking to intimidate voters. In United States

v. McLeod, 385 F.2d 734 (5th Cir. 1967), the Fifth Circuit held the district court did not

err in denying a § 131(b) claim that surveillance of meetings intimidated voters, where

there was evidence of defendants’ legitimate motive to preserve order. In AFSCME

Council 25 v. Land, 583 F. Supp. 2d 840, 846 (E.D. Mich. 2008), the district court

denied an application for an injunction under both § 131(b) and § 11(b) against state

and local officials who had issued a directive prohibiting union members from wearing

election-related paraphernalia to polls, because the plaintiff did not offer any evidence

the directive was issued for the purpose of interfering with the right to vote.

      Here, there can be no reasonable dispute that Plaintiff was incidental to the TTV

Defendants’ broader protected activities. As the FAC itself makes clear, the TTV

Defendants were not actively focusing on Plaintiff and whether he voted in the future.

Rather, the FAC is full of recitations of the TTV Defendants’ focus on their own
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mission of election integrity, including providing information to the media and their

co-defendants about their geo-tracking project, some of which their co-defendants

edited into the “2000 Mules” film; promoting the “2000 Mules” film; and speaking

with the media about the broader election issues that mattered to them, as they have

done, without Plaintiff, since 2010. Where a party’s engagement in critical civic

activity incidentally has an inhibiting or intimidating effect upon the exercise of a

protected right, “the unfortunate incidental effect may not be grounds for setting aside

or enjoining the otherwise justifiable activity.” Leflore Cnty., 371 F.2d at 371. The TTV

Defendants here had not only a very different focus, unrelated to Plaintiff, but one that

implicates matters of great public interest, as well as their own free speech. And the

TTV Defendants’ First Amendment rights merit even more protections than those

scrutinized in the cases discussed above, where the defendants themselves, not third

parties, directly engaged in the allegedly intimidating behavior.

      IV.    Plaintiff Fails to Allege with Specificity Either the KKK Act’s
             Requisite Intent or the Existence of an Agreement to Conspire to
             Violate His Rights.

      Plaintiff’s Section 1985(3) claim is even weaker, because that section requires

particularized allegations – entirely missing here – that the defendants intended to

intimidate a plaintiff regarding his voting specifically, and that they got together to

conspire specifically to do so.




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      A. The Support and Advocacy Clause of Section 1985(3) Requires an Intent
         to Intimidate and Interfere with Voting Rights Not Included Here.

      “The operative language in the KKK Act targets those who ‘conspire to prevent

by force, intimidation, or threat, any citizen’ from voting. The description of a

conspiracy to prevent voting suggests a deliberate attempt to interfere with voting

rights.” Ben Cady & Tom Glazer, “Voters Strike Back: Litigating against Modern Voter

Intimidation,” 39 N.Y.U. Rev. L. & Soc. Change 173 (2015). 14 “Thus, KKK Act

claims require a level of intentionality greater than section 11(b).” See Arizona All. for

Retired Americans v. Clean Elections USA, No. CV-22-01823-PHX-MTL, 2022 WL

15678694, at *6 (D. Ariz. Oct. 28, 2022). It is not enough that a conspiracy “has an

effect upon a protected right,” as Plaintiff’s narrative would have it. Rather, “its

impairment must be a conscious objective of the enterprise.” Bray, 506 U.S. at 275.

      In short, plaintiffs “must show proof that the purpose or intent of Defendants’

conspiracy was to intimidate or threaten voters” about engaging in voting in federal

elections. Id. As we have made clear above, Plaintiff alleges no such thing, claiming

only that the TTV Defendants engaged in promotional activities and that third parties

allegedly intimidated him. Nor does Plaintiff allege the TTV Defendants specifically

intended to interfere with his voting. Indeed, Plaintiff does not allege the TTV

Defendants even knew who he was or expressed a desire that he either not vote or vote




14
  See https://socialchangenyu.com/review/voters-strike-back-litigating-against-
modern-voter-intimidation/ (last visited January 6, 2023).
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differently. Plaintiff’s allegation of conspiracy is textbook conclusory.

      B. Because Plaintiff Failed to Allege Specific Facts That the TTV Defendants
         Had a Meeting of The Minds About Him at All, Let Alone to Intimidate
         Him in Voting, His Conspiracy and KKK Act Claims Must Be Dismissed.

      Two of Plaintiff’s claims – the KKK Act claim and the Civil Conspiracy claim

– fail outright because Plaintiff has not properly pleaded a conspiracy. Plaintiff’s

conspiracy allegations (1) are impermissibly bare and conclusory, simply pronouncing

“there was a conspiracy” without the required detail of who, what, when, where, and

how a meeting of the minds occurred; (2) purport to infer a meeting of the minds

through mere “parallel actions”; and (3) purport to satisfy both the conspiratorial

agreement and overt act elements by listing the same promotional actions that are very

much part of the core mission of the TTV Defendants and have an “obvious alternative

explanation”, that is, one not focused at all on Plaintiff.

      In a KKK Act claim, courts apply general principles of conspiracy law, often

looking to the elements of civil conspiracy for guidance. See, e.g., Bush v. Butler, 521

F. Supp. 2d 63, 68 (D.D.C. 2007). Plaintiffs seeking relief under the Support or

Advocacy Clause must establish both (1) the existence of a conspiracy and (2) the

conspiracy’s plan to use “force, intimidation, or threat” toward the plaintiff. The most

important elements are an “agreement” or meeting of the minds between the parties to

inflict a wrongful injury and an “overt act” in furtherance of that agreement’s objective.

See Caldeira v. County of Kauai, 866 F.2d 1175, 1181 (9th Cir.1989), cert. denied, 493

U.S. 817 (1989); see also Lenard v. Argento, 699 F.2d 874, 882–83 (7th
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Cir.1983), cert. denied, 464 U.S. 815 (1983).

      Plaintiff may not make “threadbare recitals of a cause of action's elements,

supported by mere conclusory statements.” Ashcroft v. Iqbal, 556 U.S. 662 (2009). But

Plaintiff’s is exactly the sort of “threadbare claim” that “fails to allege enough facts to

make a conspiracy plausible instead of just possible.” Knieper v. Forest Grp. USA, Inc.,

No. 4:15-CV-00222-HLM, 2016 WL 9449794, at *7 (N.D. Ga. Sept. 12, 2016), order

clarified, No. 4:15-CV-00222-HLM, 2017 WL 3449601 (N.D. Ga. Jan. 23, 2017)

(addressing Georgia civil conspiracy claims). “It is not enough to simply aver in the

complaint that a conspiracy existed.” Fullman v. Graddick, 739 F.2d 553, 556–57

(11th Cir.1984); Shell v. U.S. Dep't Of Hous. And Urban Dev., 355 Fed. App'x 300, 307

(11th Cir.2009) (The plaintiff's “bare assertion that a conspiracy occurred [is]

insufficient to state a claim.”). A complaint “may justifiably be dismissed because of

the    conclusory,     vague      and     general     nature     of     the    allegations

of conspiracy.” Fullman, 739 F.2d at 557 (citation omitted); see also Bragg v. Bank of

Am., N.A., No. 1:14-CV-564-WSD, 2014 WL 2154190, at *4 (N.D. Ga. May 21, 2014)

(dismissing claim of conspiracy that relied on the “conclusory assertion that

Defendants engaged in a ‘conspiracy to defraud the Plaintiff’”), appeal dismissed, 11th

Cir. 14-12670 (11th Cir. Nov. 5, 2014).

      Tellingly, up to the point of trying to make out Plaintiff’s cause of action for a

violation of the KKK Act, over the course of 260 paragraphs, the FAC makes no

allegations whatsoever of any agreement by Defendants (1) to form a conspiracy (2)
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about Plaintiff (3) to intimidate Plaintiff specifically into not exercising his right to

vote, or (4) even to intimidate similarly situated voters in general. Only once he’s listed

his Count I (1985(3) of the KKK Act) does Plaintiff belatedly lob several

impermissibly conclusory claims that Defendants “conspired”, or had an “agreement”,

“to intimidate and threaten Mr. Andrews—and innumerable other eligible voters—in

order to deter him from engaging in support or advocacy on behalf of his preferred

candidates for federal office by exercising his right to vote.” FAC, ¶261. But Plaintiff

does not and cannot explain how Defendants got together to form a meeting of the

minds – the who, what, when, and where, about an unidentified and nameless person

– in which the what is a plan to interfere with the voting rights of a known who.

      In Plaintiff’s key Paragraphs 261 and 262, we can see that Plaintiff’s allegation

of the existence of a conspiracy is simply speculation. “Defendants conspired with each

other,” Plaintiff begins, with a conclusion, “to intimidate and threaten Mr. Andrews”.

This, of course, is the very definition of a “bare” or “conclusory” assertion. Does

Plaintiff go on to actually identify any agreement among the Defendants? He does not.

He simply hopes the Court will infer the existence of a conspiracy from various

statements and parallel actions by Defendants relating to their efforts to publicize their

findings and the film, FAC, ¶¶262, 264 (KKK Act), 318 (state civil conspiracy), with

video of Plaintiff, among others, appearing as an incidental part of legal activities in

which the TTV Defendants had engaged for decades.

      In Paragraph 264, Plaintiff turns to the impermissible speculation that the
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conspiratorial “agreement” was “demonstrated by” – or should be inferred by this

Court by – Defendants’ acts of producing a movie, “launching” a media campaign for

the movie, “appearing” on media, and publishing and promoting a book. FAC ¶264. In

short, Plaintiff advises the Court to create precedent that a conspiratorial agreement

may be inferred solely from the conspiracy’s alleged overt acts, thus conflating two

entirely separate requirements for making out a conspiracy. More troublesome still,

Plaintiff’s claim of “overt acts” encompasses lawful, quintessentially First Amendment

activity in which everyone who produces a film or publishes a book engages.

      This is not how conspiracies are pleaded. Plaintiff’s narrative isn’t remotely

plausible: consider how spectacularly ineffectual such a conspiracy would have been,

had it existed, where the video footage of Plaintiff takes up only seconds (in the film),

in some cases milliseconds (in other footage), out of the hours of video in the film and

Defendants’ media appearances, and where Defendants ensure Plaintiff is

unidentifiable, and never mention his name or any other identifying characteristics.

      The “2000 Mules” movie is not about Plaintiff. It is a much broader piece of

protected speech. Nor were the parties’ promotional efforts directed toward Plaintiff;

rather, they happened to feature publicly available video of an unidentifiable man along

with other voters and a great deal of other content. The mere act of producing a large

piece of speech, a film, and doing exactly what people do with films – promote it in

the normal course of a PR campaign – cannot be said to “demonstrate”, or infer, a

meeting of the minds to intimidate Plaintiff, let alone to intimidate him regarding
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voting.

     C. Plaintiff Does Not Allege with any Particularity a Plan to Intimidate Him
        from Voting.

      Plaintiff here does not plead a true agreement, by each of the defendants, to

intimidate him. Cf. Wohl, 498 F. Supp. 3d at 486-87. He also does not plead, with

specificity, that the alleged conspirators “knew of the conspiracy” to interfere with his

voting and adopted a goal or objective of engaging in this unlawful behavior of

intimidating him. “Although an express agreement is not necessary, the participants in

the conspiracy must share the general conspiratorial objective. It simply must be

shown that there was a single plan, the essential nature and general scope of which

[was] known to each person who is to be held responsible for its

consequences.” Simmons v. Poe, 47 F.3d 1370, 1378 (4th Cir. 1995) (citations omitted);

see also Porter v. Bainbridge, 405 F.Supp. 83, 91 (D.Ind.1975).

      Here, Plaintiff pleads nothing that would indicate a shared “conspiratorial

objective” of interfering with Plaintiff’s vote. Plaintiff merely pleads an association

among the defendants as contributors to a film and its promotion. But in the absence

of specific evidence of conspiratorial agreement, the fact that defendants are associated

in some manner cannot be used to prove the existence of a conspiracy. See Moss v.

Perkins, 682 F.Supp. 395, 396 (N.D.Ill.1988); see also Scott v. Greenville County, 716

F.2d 1409, 1424 (4th Cir.1983) (rejecting the allegation that private citizens were liable

for section 1985(3) conspiracy simply because they wrote letters and spoke at public


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meetings in opposition to low-income housing in an effort to influence the County

Council's actions, because there was “no joint plan of action”); Ballinger v. North

Carolina Agricultural Extension Service, 815 F.2d 1001, 1006–07 (4th Cir.1987), cert.

denied, 484 U.S. 897 (1987) (dismissing a section 1985(3) claim alleging conspiracy

on the basis of age, because there was no direct or indirect proof of participation in any

conspiracy).

       D. Plaintiff Alleges No More Than Lawful “Parallel Actions” by
       Defendants That Had “Obvious Alternative Explanations”.

      Plaintiff doesn’t just fail to plead intimidation by someone other than third

parties, or a definite meeting of the minds. Indeed, his alleged facts in support of a

conspiracy by the Defendants merely recite parallel promotional activities with

obvious alternative explanations and no plausible inference of coordinated conduct.

            1. A Conspiracy Claim May Not be Based on Merely “Parallel
               Action” by Defendants.

      The Supreme Court’s standard for pleading a conspiracy in Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 556–57 (2007), applicable to conspiracies in general, is fatal

to Plaintiff’s conclusory claims of Defendants’ parallel actions, because merely “lawful

parallel conduct fails to bespeak unlawful agreement.” See also Am. Dental Ass'n v.

Cigna Corp., 605 F.3d 1283, 1294 (11th Cir. 2010). The plaintiffs in Twombly had

alleged a conspiracy among certain regional telecommunications providers. Like

Plaintiff’s FAC here, their complaint contained only speculation that a meeting of the

minds must have happened, somehow. They simply attempted to infer a conspiracy

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through allegations of the defendants' parallel behavior. The Supreme Court upheld the

dismissal of the complaint.

      Here, Plaintiff fails to establish a context “that raises a suggestion” that a

“preceding agreement” must have happened. See Twombly, 550 U.S. at 557. Instead,

Plaintiff lists the sorts of promotional activities any party would engage in if it had a

public-facing mission or was promoting a book or film. That is, Plaintiff pleads

conspiracy via routine PR.

      The Court in Twombly went on, describing exactly Plaintiff’s allegations, saying

parallel conduct, even where such conduct is “consciously undertaken” – i.e., the full

extent of Plaintiff’s claims about Defendants’ promotional activities – is not enough

without “some setting suggesting the agreement necessary” and that merely parallel

conduct is “much like a naked assertion of conspiracy” in that “it gets the complaint

close to stating a claim, but without some further factual enhancement it stops short of

the line between possibility and plausibility of “entitle[ment] to relief.” Twombly, 550

U.S. at 557 (emphasis added).

      What sort of parallel conduct might make out a claim for conspiracy? “Parallel

conduct infers a conspiracy,” for example, “where the plaintiff establishes that each

defendant engaged in the parallel action contrary to its economic self-interest,” In re

Disposable Contact Lens Antitrust, 215 F. Supp. 3d 1272, 1297 (M.D. Fla. 2016)

(emphasis added), or where each defendant adopted the same uniform price, in a way

that would be all but statistically impossible absent an agreement, Quality Auto
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Painting, 917 F.3d at 1263 (defendants’ adoption of a “uniform” price suggests parallel

conduct), or, worse, where the conspirators made “repeated, synchronous pricing

decisions” over seven years, Williamson Oil Co., Inc. v. Philip Morris USA, 346 F.3d

1287, 1304 (11th Cir. 2003).

             2. The TTV Defendants’ “Obvious, Alternative Explanation” for
                Their Activities Defeats Any Mere Inference of Collective
                Conduct.

      Plaintiff’s failure to plead a conspiracy claim goes beyond relying on lawful and

uncoordinated parallel action. That’s because Plaintiff himself provides an obvious

alternative explanation for the TTV Defendants’ promotional activities, which is their

elections mission in general and their promotional appearances in particular. That

alternative explanation renders implausible Plaintiff’s bare inferences that Defendants

unlawfully coordinated activities were somehow all about him and his voting.

      Where, as here, there is an “obvious alternative explanation” for the collective

actions alleged, one that suggests lawful, independent conduct, no unlawful conspiracy

may be plausibly inferred. See Twombly, 550 U.S. at 568; Iqbal, 129 S.Ct. at 1951–52

(finding that though some of the plaintiff's allegations were “consistent with”

purposeful discrimination, the complaint as a whole supported a plausible and

legitimate motive by law enforcement officers to protect the nation from “suspected

terrorists”); Gibbs v. United States, 865 F. Supp. 2d 1127, 1146 (M.D. Fla.

2012), aff'd, 517 F. App'x 664 (11th Cir. 2013); see also Am. Dental Ass'n, 605 F.3d

at 1295 (rejecting conspiracy allegations of parallel conduct where there is an “obvious

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alternative explanation”).

      Plaintiff pleads, in essence, a “conspiracy”, or agreement, to produce and

promote a movie – one that left him unidentifiable. He fails to plead with any

particularity beyond the conclusory statement that Defendants had a meeting of the

minds about him at all, let alone to intimidate him in order to influence his voting.

      The activities of which Plaintiff complains, in short, are what all of the TTV

Defendants engage in as part of their ordinary business in elections integrity. They have

an obvious alternative explanation, which makes Plaintiff’s speculations about such

routine PR forming a conspiratorial agreement or the required “overt actions” simply

implausible.

   V. Plaintiff Fails to State a Claim Against the True the Vote Defendants for
      Defamation (Count III).

       Plaintiff’s claims for defamation and defamation per se against the TTV

 Defendants fail as a matter of law for at least three reasons.

       A. Defendants’ Statements Constitute Protected Opinion Under Georgia
          Law and the First Amendment.

      Defendants’ statements are not actionable on the ground that they qualify for

protection as expressions of opinion under both the First Amendment and Georgia law.

            1. Andrew’s Claims of Injury by Opinion Are Not Actionable as A
               Matter of Georgia Law.

      Because the statements charged against respective Defendants in Plaintiff’s

complaint are clearly expressing their respective opinions of Andrews’ conduct in

dropping off five ballots, they are not actionable as a matter of Georgia law. Under
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Georgia law, a person “‘cannot be sued for simply expressing his opinion of another

person, however unreasonable the opinion or vituperative the expressing of it may be.

However pernicious an opinion may seem, we depend for its correction not on the

conscience of judges and juries but on the competition of other ideas.”’ Kendrick v.

Jaeger, 210 Ga. App. 376, 377, 436 S.E.2d 92, 93-94 (1993) (quoting Bergen v.

Martindale-Hubbell, 176 Ga. App. 745, 747, 337 S.E.2d 770, 772 (1985) (citations and

punctuation omitted)). Opinions are not defamatory - and therefore cannot be

actionable as defamation - if they are expressed “on matters with respect to which

reasonable men might entertain differing opinions.” Kendrick, 210 Ga. App. at 377,

436 S.E.2d at 93 (citations omitted); see also Georgia Const., art. I, sec. I, Para. V

(“Every person may speak, write, and publish sentiments on all subjects ....”); Kirsch

v. Jones, 219 Ga. App. 50, 464 S.E.2d 4 (1995); Collins v. Cox Enters., Inc., 215 Ga.

App. 679, 452 S.E.2d 226 (1994); Hylton v. American Ass’n for Vocational

Instructional Materials, Inc., 214 Ga. App. 635, 448 S.E.2d 741 (1994); Elder v.

Cardoso, 205 Ga. App. 144, 421 S.E.2d 753 (1992).

      In Collins, for example, the Georgia Court of Appeals affirmed judgment on the

pleadings for a defendant newspaper that had printed an editorial criticizing a candidate

for public office. The editorial at issue stated that plaintiff hoped to “fool” voters by

running for public office using a name similar to that of the governor. The court

affirmed judgment on the pleadings in favor of the defendant on the ground that the

editorial was “merely speculation as to [plaintiff’s] motive based on his behavior ... a
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matter about which reasonable people might differ.” 215 Ga. App. at 680, 452 S.E.2d

at 227. Similarly, in Kirsch, the court held non-actionable an attorney’s assertion that

another attorney had “bungled” a case and that if he “had any sense at all, he would

not have touched the case with a ten foot pole,” on the ground that the statements were

“merely expressions of opinion and hyperbole about which reasonable people might

differ and which cannot be proved true or false.” 219 Ga. App. at 51, 464 S.E.2d at 6.

       Following the Supreme Court’s decision in Milkovich v. Lorain Journal Co., 497

U.S. 1 (1990), which held that statements of opinion can be actionable only if they

“contain a provably false factual connotation,” id. at 19, the Georgia courts have joined

other jurisdictions in recognizing a distinction between statements of opinion made on

fully-disclosed facts, which are protected, and those opinions that imply undisclosed

defamatory facts and therefore may be actionable. See Jaillett v. Georgia Television

Co., 238 Ga. App. 885, 890-91, 520 S.E.2d 721, 726 (1999); Eidson v. Berry, 202 Ga.

App. 587, 588, 415 S.E.2d 16, 17-18 (1992). As the Georgia Court of Appeals held in

Jaillett:

       The requirement that, to be actionable, a statement of opinion must imply
       an assertion of objective facts about the plaintiff “unquestionably
       excludes from defamation liability not only statements of rhetorical
       hyperbole ... but also statements clearly recognizable as pure opinion
       because their factual premises are revealed .... Both types of assertions
       have an identical impact on readers - neither reasonably appearing factual
       - and hence are protected equally under the principles espoused in
       Milkovich.” If an opinion is based upon facts already disclosed in the
       communication, the expression of the opinion implies nothing other than
       the speaker’s subjective interpretation of the facts.


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238 Ga. App. at 890, 520 S.E.2d at 726 (quoting Phantom Touring v. Affiliated

Publications, 953 F.2d 724, 731 n. 13 (1st Cir. 1992)). The Jaillett court based its

holding not only on the First Amendment but also on Section 566 of the Restatement

(Second) of Torts, which provides that “‘a statement of [opinion] is actionable only if

it implies the allegation of undisclosed defamatory facts as the basis for the opinion.”’

See 238 Ga. App. at 890-91, 520 S.E.2d at 726 (quoting Restatement (Second) of Torts,

§ 566, at 170). As the court further noted, the Restatement clarifies that “‘[i]f the

defendant bases his expression of a derogatory opinion of the plaintiff on his own

statement of facts that are not defamatory, he is not subject to liability for the factual

statement - nor for the expression of opinion, so long as it does not reasonably indicate

an assertion of the existence of other, defamatory, facts that would justify the forming

of the opinion.”’ Id. (quoting Comment c to Restatement § 566).

      In Jaillett, the Court of Appeals applied these rules to hold non-actionable the

defendant’s broadcast of a consumer affairs report in which both a news anchor and a

consumer interviewee used the term “rip-off” in discussing plaintiffs air-conditioner

repair services. The court held that in the context of the entire report, “a reasonable

viewer would not have concluded that, by using the term ‘rip-off,’ [the anchor and

consumer] were implying that they were aware of any additional defamatory facts not

disclosed in the broadcast.” 238 Ga. App. at 891, 520 S.E.2d at 726.

      If an allegedly defamatory statement is “not ambiguous and can reasonably have

but one interpretation, the question is one of law for the judge.” Thomason v. Times-
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Journal, Inc., 190 Ga. App. 601,601,379 S.E.2d 551, 552 (1989); Willis v. United

Family Life Ins., 226 Ga. App. 661, 662, 487 S.E.2d 376, 379 (1997). Any statement

“claimed to be defamatory must be read and construed in the sense in which the

[viewers] to whom it is addressed would ordinarily understand it.” Southern Comp. v.

Hamburg, 220 Ga. App. 834, 838, 470 S.E.2d 467, 471 (1996). When evaluating the

statement, the Court “should read and construe the [interview] as a whole,” taking into

consideration the context in which the statements were made. Thomason, 190 Ga. App.

at 601, 379 S.E.2d at 552.

      Here, there was no ambiguity at all with respect to the respective Defendants’

statements of opinion and the facts on which they were based. Plaintiff alleges that he

was libeled by comments that he was committing a crime on the observed basis that he

was plainly putting ballots in the box that were not his own, but he seeks to interpret

those words entirely out of the context in which they were uttered, which are based on

the concurrently played video of Plaintiff doing just that. Not only did Defendants not

claim any knowledge of other, non-disclosed facts about Andrews, but his specific

identity was obviously unknown to any of the Defendants, and the comments were

based solely on the video, which was fully disclosed as the basis for the opinions on

the implication of Andrews’ actions.

      As noted above, under Georgia law “‘a statement of [opinion] is actionable only

if it implies the allegation of undisclosed defamatory facts as the basis for the opinion.”’

Jaillett, 238 Ga. App. at 890-91, 520 S.E.2d at 726 (quoting Restatement (Second) of
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Torts, § 566, at 170) (emphasis added). Thus, even without reaching the First

Amendment issues to which we now turn, it is clear as a matter of Georgia tort law that

Rivera’s statement cannot be the subject of a libel judgment.

               2. The Challenged Statements Constitute Protected Opinion Under
                  the First Amendment.

      The federal courts have sought to encourage free and open debate by providing

“full constitutional protection” for “statement[s] of opinion relating to matters of public

concern that do[] not contain a provably false factual connotation.” Milkovich v. Lorain

Journal Co., 497 U.S. 1, 20 (1990); see also Keller v. Miami Herald Publishing Co.,

778 F.2d 711, 717 (11th Cir. 1985) (“[o]pinions are protected from defamation actions

by the first amendment.”). In applying this regime of constitutional protection, courts

have distinguished between statements of opinion that merely imply the existence of

undisclosed defamatory facts, which are actionable, and those that affirmatively

disclose the facts on which the opinion is based. In Keller, this Court held that the

expression in a political cartoon was protected by the First Amendment on the ground

that it fell within the category of “pure opinion; that is, those opinions based on facts

set forth in the communication or reasonably assumed to exist.” 778 F.2d at 718.

      Although Keller was a pre-Milkovich case, more recent cases in the opinion area

make clear that the distinction between statements of opinion on disclosed versus

implied facts has continued vitality after Milkovich. See Standing Committee on

Discipline v. Yagman, 55 F.3d 1430 (9th Cir. 1995); Phantom Touring v. Affiliated


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Publications, 953 F.2d 724, 731 n. 13 (1st Cir. 1992); Jaillett v. Georgia Television Co.,

238 Ga. App. 885, 520 S.E.2d 721 (1999). As the Ninth Circuit explained in Yagman:

      The rationale behind this rule is straightforward: When the facts
      underlying a statement of opinion are disclosed, readers will understand
      they are getting the author’s interpretation of the facts presented; they are
      therefore unlikely to construe the statement as insinuating the existence
      of additional, undisclosed facts. Moreover, “an opinion which is
      unfounded reveals its lack of merit when the opinion-holder discloses the
      factual basis for the idea”; readers are free to accept or reject the author’s
      opinion based on their own independent evaluation of the facts.... A
      statement of opinion of this sort doesn’t “imply a false assertion of fact,”
      and is thus entitled to full constitutional protection.

55 F.3d at 1439-40 (quoting Redco Corp. v. CBS, Inc., 758 F.2d 970, 972 (3d Cir. 1985)

and Milkovich, 497 U.S. at 19) (other citations omitted).

      Plaintiff has amply shown, in his FAC, that the film and its interpretation of the

facts researched and shown therein are matters of fierce debate about which there are

many opinions. Plaintiff wants the Court to stifle this debate and formulate an official

opinion, essentially a prior restraint on discussion generated by the film. However, the

Defendants’ opinions on these fully disclosed facts are protected speech and Plaintiff’s

defamation claims must be dismissed as a matter of law.

     B. Plaintiff's Allegations Show that the True the Vote Defendants Made No
        Statement "Of and Concerning" Plaintiff.

        To establish the first element of a defamation claim – i.e., a false and

 defamatory statement “of and concerning” the plaintiff – “the allegedly defamatory

 words or picture must refer to some ascertained or ascertainable person, and that

 person must be the plaintiff.” Collins v. Creating Loafing Savannah, Inc., 264 Ga.
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App. 675, 678 (2003); Mathis v. Cannon, 276 Ga. 16, 20-21 (2002). The plaintiff

“has the burden of showing, inter alia, that the publication was about the plaintiff,

that is, whether it was of and concerning [the plaintiff] as a matter of identity.” 800

Mktg. Sols., Inc. v. GMAC Ins. Mgmt. Corp., 2008 WL 2777140, at *5 (M.D. Ga.

July 14, 2008) (quoting Smith v. Stewart, 291 Ga. App. 86, 92 (2008)). “If the words

or picture used really contain[] no reflection on any particular individual, no

averment or innuendo can make them defamatory. An innuendo cannot make the

person certain which was uncertain before.” Collins, 264 Ga. App. at 678.

      Plaintiff here does not (and cannot) allege that he is identified by name, that his

face is shown, that the license plate of his vehicle is shown, or that he is otherwise

identifiable in either the film or the book. To the contrary, Plaintiff affirmatively

alleges that every time his image was shown in the film or the book, his face was

completely blurred. (See Doc. 27 at ¶¶ 38-39, 45, 74.) Thus, any statements in the

film or book were made solely in reference to an unidentified, anonymous, and

obscured person. Although Plaintiff claims, implausibly, that Defendants

Engelbrecht and Phillips were somehow responsible for The Charlie Kirk Show

featuring an unblurred image of him, it is not clear if Plaintiff contends any of the

statements made on that show are actionable in this case and, if so, who is responsible

for them. (Id. at ¶ 49.) To the extent Plaintiff intended to assert a claim against the

TTV Defendants based on any statements made on The Charlie Kirk Show, that

claim would fail because the FAC does not allege Plaintiff was either identifiable on
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 the show or identified as a result of any such statements.

       In short, there is nothing in the film or the book from which any viewer could

 identify Plaintiff. See Fiske v. Stockton, 171 Ga. App. 601, 602 (1984) (allegedly

 defamatory statements that did not name or identify plaintiffs and that, on their face,

 “really contain[ed] no reflection on any particular individual,” were not actionable,

 despite the fact witnesses testified they knew the publication was about plaintiffs).

       Like the illustration in Collins, the blurred image of Plaintiff in the film and

 book is not recognizable as Plaintiff without additional evidence. Collins, 264 Ga.

 App. at 678-679; see also Eakin v. Rosen, 2017 WL 5709564, at *3 (M.D. Ga. Nov.

 27, 2017) (recognizing “the defamed person must be able to be identified through

 the words contained in the defamatory statement,” not through “extrinsic” evidence).

 And, like the statements in Fiske, none of the statements in the film or book names

 or otherwise identifies Plaintiff. Fiske, 171 Ga. App. at 602; see also Escort, 2005

 WL 8155369, at *6 (dismissing libel claims where plaintiffs did not, and could not,

 plead allegedly libelous directories “refer[] to them by name or that their names are

 immediately ascertainable to the average reader perusing these directories”).

      Because none of the statements or images in the film or book are “of and

concerning” Plaintiff, his defamation claim against the TTV Defendants fails as a

matter of law.

        C. Plaintiff's Claim for Defamation Per Quod Should Be Dismissed
           Because Plaintiff Failed to Plead Special Damages and Plaintiff is Not
           Entitled to Presumed Damages.
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      Under Georgia law, a “written defamatory statement may be actionable either

as libel per se or libel per quod.” Eakin, 2017 WL 5709564, at *3. The FAC appears

to assert both. (See Doc. 27 at p. 117.) But even if Plaintiff could show any of the

statements in the film or book are “of and concerning” him, the FAC fails to state a

claim for defamation per quod because Plaintiff did not plead special damages.

      “An essential element of an action for libel per quod is that the plaintiff be

able to show special damages.” Zarach v. Atlanta Claims Ass’n, 231 Ga. App. 685,

689 (1998). Special damages “must be the loss of money, or of some other material

temporal advantage capable of being assessed in monetary value.” Id. Moreover, a

“heightened pleading standards applies to special damages, which must be

specifically stated.” Eakin, 2017 WL 5709564, at *5. Plaintiff does not specifically

allege any financial or economic damage he has suffered as a result of any allegedly

defamatory statements in the film or the book. Accordingly, Plaintiff’s claim for

defamation per quod fails as a matter of law. See Zarach, 231 Ga. App. at 689.

      Further, given the unquestioned public interest in the subject matter and the

book and film, Georgia law holds that Plaintiff is only entitled to special damages.

As put by the Georgia Supreme Court in Mathis v. Cannon, 573 S.E.2d 376 (Ga.

2002) (emphasis added):

     At common law, libel was a strict liability tort that did not require proof
     of falsity, fault, or actual damages. Since the United States Supreme
     Court’s decision in New York Times Co. v. Sullivan, the law of
     defamation has undergone substantial changes. The Restatement now
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      lists four elements in a cause of action for defamation: (1) a false and
      defamatory statement concerning the plaintiff; (2) an unprivileged
      communication to a third party; (3) fault by the defendant amounting at
      least to negligence; and (4) special harm or the “actionability of the
      statement irrespective of special harm.” When, as here, a libel action
      involves a speech of public concern, a plaintiff must show that the
      defendant published a defamatory statement about the plaintiff, the
      defamatory statement was false, the defendant was at fault in publishing
      it, and the plaintiff suffered actual injury from the statements.

      Indeed, remedy for any injury actually incurred does not appear to be the goal

of this lawsuit, but rather to attempt to discredit the Defendants, cause them expense

in having to answer in litigation, and to serve as a warning to those who would raise

such issues as are explored in the film and book. In short, it is a SLAPP suit. Because

Plaintiff has not pleaded special damages per quod and is not entitled to damages per

se, his claims of defamation must be dismissed as a matter of law.

   VI.     The FAC Fails to State a Claim Against the True the Vote Defendants
           for Invasion of Privacy by False Light (Count IV)

      The True the Vote Defendants join the arguments of Salem and Regnery as set

 forth in DKT. 48; 48-1.

   VII. The FAC Fails to State a Claim Against t h e Tr u e t h e Vo t e
        D e f e n d a n t s for Invasion of Privacy by Appropriation of Likeness
        (Count V)

      The True the Vote Defendants join the arguments of Salem and Regnery as set

forth in DKT. 48; 48-1.

   VIII. Plaintiff’s Invasion of Privacy Claims (Counts IV and V) Fail Because
         the Statements at Issue Involve a Matter of Public Interest

      The True the Vote Defendants join the arguments of Salem and Regnery as set

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 forth in DKT. 48; 48-1.

   IX.     Plaintiff’s Claims for Defamation, False Light, and Appropriation of
           Likeness (Counts III to V) Also Fail Because the Statements at Issue Are
           Privileged and Plaintiff Has Not Alleged Actual Malice

        The True the Vote Defendants join the arguments of Salem and Regnery as set forth in

DKT. 48; 48-1.

   X.      Plaintiff’s Claim for Punitive Damages (Count VII) Fails

        The True the Vote Defendants join the arguments of Salem and Regnery as set

 forth in DKT. 48; 48-1.

   XI.     CONCLUSION

        For the foregoing reasons, the True the Vote Defendants respectfully request

 that the Court dismiss the FAC against them in its entirety, with prejudice.


         Respectfully submitted this 6th day of February 2023.

                                   /s/ Molly Parmer
                                   MOLLY PARMER (GA Bar No. 942501)
                                   PARMER LAW
                                   1202 W. Peachtree Street, NW, Suite 2300
                                   Atlanta, Georgia 30309
                                   (404) 795-5060
                                   molly@parmer.law

                                   /s/ Michael J. Wynne
                                   MICHAEL J. WYNNE* (TX Bar No. 785289)
                                   CAMERON POWELL* (DC Bar No 459020)
                                   JOSEPH R. LARSEN* (TX Bar No. 11955425)
                                   GREGOR WYNNE ARNEY PLLC
                                   909 Fannin Street, Suite 3800
                                   Houston, Texas 77010
                                   mwynne@gwafirm.com
                                   cpowell@gwafirm.com
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                               jlarsen@gwafirm.com

                               Attorneys for Defendants True the Vote, Inc.,
                               Catherine Engelbrecht, and Gregg Phillips

                               *Admitted Pro Hac Vice


                         RULE 7.1(D) CERTIFICATE

      The undersigned counsel certifies that this document has been prepared with

Times New Roman 14-point font in accordance with Local Rule 5.1.C.

      This 6th day of February 2023.

                                              /s/ Molly Parmer
                                              MOLLY PARMER

                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the within and

foregoing BRIEF IN SUPPORT OF DEFENDANTS TRUE THE VOTE’S,

CATHERINE ENGELBRECHT’S AND GREGG PHILLIPS’ MOTION TO

DISMISS was electronically filed with the Clerk of Court using the CM/ECF

system, which will automatically send email notification of such filing to all

attorneys of record.

      This 6th day of February 2023.

                                              /s/ Molly Parmer
                                              MOLLY PARMER




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